                                      United States Bankruptcy Court
                                           District of Arizona
In re:                                                                                 Case No. 17-12529-BKM
MICHAEL A BRADLEY                                                                      Chapter 7
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 0970-2          User: admin                  Page 1 of 2                   Date Rcvd: Oct 30, 2017
                              Form ID: 309A                Total Noticed: 38


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Nov 01, 2017.
db              +MICHAEL A BRADLEY,    4410 N 14TH ST #7,     PHOENIX, AZ 85014-4577
docprep         +SHERI A (AZCLDP 81482) BARRIOS,     723 W. POLK ST.,    PHOENIX, AZ 85007-2538
14767798        +ATLANTIC CREDIT & FINANCE INC.,     P.O. BOX 2001,    WARREN MI 48090-2001
14767799        +BRIDGECREST,    P.O. BOX 29018,    PHOENIX AZ 85038-9018
14767800        +CAMELBACK FINANCE INC.,    5005 N. BLACK CANYON HWY,     PHOENIX AZ 85015-2720
14767802         CCB CREDIT SERVICE,    5300 S 6TH STREET,     SPRINGFIELD IL 62703-5184
14767804        +CJ AUTO INC,    P.O. BOX 6834,    MESA AZ 85216-6834
14767805        +CONSTAR FINANCIAL SERVICES LLC,     3561 W. BELL RD.,    PHOENIX AZ 85053-2965
14767807       ++CORTRUST BANK,    PO BOX 7030,    MITCHELL SD 57301-7030
                (address filed with court: CORTRUST BANK,       500 E. 60 TH ST. N.,    SIOUX FALLS SD 57104)
14767812        +ERC,   P.O. BOX 57547,    JACKSONVILLE FL 32241-7547
14767814      +++GATESTONE,   P.O BOX 101928,     DEPT 4947A,    BIRMINGHAM AL 35210-6928
14767818        +MERCANTILE,    P.O. BOX 9054,    WILLIAMSVILLE NY 14231-9054
14767819        +MID AMERICA BANK & TRUST,     P.O. BOX 400,    DIXON MO 65459-0400
14767821        +MONTERY COLLECTIONS,    4095 AVENIDA DE LA PLATA,     OCEANSIDE CA 92056-5802
14767822        +MOTOR VEHICLE TAX BILL,    CITY OF WEST HAVEN,     P.O. BOX 401,    WEST HAVEN CT 06516-0401
14767824        +NORTHLAND GROUP,    P.O. BOX 390905,    MAIL CODE CBK2,    MINNEAPOLIS MN 55439-0905
14767826        +SYNERGETIC COMMUNICATION,     5450 NORTHWEST CENTER STE 1000,    HOUSTON TX 77007
14767827        +TAXSERVE CAPITAL SERVICES LLC,     21 OAK ST. STE 310,    HARTFORD CT 06106-8008
14767830        +VISIONS OPTIQUE & EYECARE,     18291 N. PIMA RD. STE 120,    SCOTTSDALE AZ 85255-6224

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
tr              EDI: QMGAUGHAN.COM Oct 30 2017 23:43:00      MAUREEN GAUGHAN,    PO BOX 6729,
                 CHANDLER, AZ 85246-6729
smg             EDI: AZDEPREV.COM Oct 30 2017 23:43:00      AZ DEPARTMENT OF REVENUE,    BANKRUPTCY & LITIGATION,
                 1600 W. MONROE, 7TH FL.,   PHOENIX, AZ 85007-2650
14767797       +EDI: AMEREXPR.COM Oct 30 2017 23:43:00      AMERICAN EXPRESS,    P.O. BOX 981537,
                 EL PASO TX 79998-1537
14767801       +EDI: CAPITALONE.COM Oct 30 2017 23:43:00      CAPITAL ONE,    P.O. BOX 30281,
                 SALT LAKE CITY UT 84130-0281
14767803       +E-mail/Text: bmg.bankruptcy@centurylink.com Oct 30 2017 23:54:53       CENTURYLINK,
                 PO BOX 660068,   DALLAS TX 75266-0068
14767806       +EDI: CONVERGENT.COM Oct 30 2017 23:43:00      CONVERGENT OUTSOURCING,    800 SW 39TH ST.,
                 RENTON WA 98057-4975
14767808       +EDI: CCS.COM Oct 30 2017 23:43:00      CREDIT COLLECTION SERVICES,    725 CANTON ST.,
                 NORWOOD MA 02062-2679
14767809        EDI: RCSFNBMARIN.COM Oct 30 2017 23:43:00      CREDIT ONE BANK,    P.O BOX 98873,
                 LAS VEGAS NV 89193-8873
14767810       +EDI: DCI.COM Oct 30 2017 23:43:00      DIVERSIFIED CONSULTANTS, INC.,    P.O. BOX 551268,
                 JACKSONVILLE FL 32255-1268
14767811       +EDI: TSYS2.COM Oct 30 2017 23:43:00      DSNB/MACYS,   P.O. BOX 8218,    MASON OH 45040-8218
14767813       +EDI: AMINFOFP.COM Oct 30 2017 23:43:00      FIRST PREMIER BANK,    3820 N. LOUISE AVENUE,
                 SIOUX FALLS SD 57107-0145
14767815        EDI: HY11.COM Oct 30 2017 23:43:00      HYUNDAI MOTOR FINANCE COMPANY,    P.O. BOX 20829,
                 FOUNTAIN VALLEY CA 92728-0829
14767816       +EDI: IIC9.COM Oct 30 2017 23:43:00      IC SYSTEMS,   P.O. BOX 64437,    SAINT PAUL MN 55164-0437
14767817        EDI: FORD.COM Oct 30 2017 23:43:00      KIA MOTORS FINANCE,    P.O. BOX 20825,
                 FOUNTAIN VALLEY CA 92728-0825
14767820       +EDI: MID8.COM Oct 30 2017 23:43:00      MIDLAND FUNDING LLC,    2365 NORTHSIDE DR. #300,
                 SAN DIEGO CA 92108-2709
14767823       +EDI: NFCU.COM Oct 30 2017 23:43:00      NAVY FEDERAL CREDIT UNION,    P.O. BOX 5503,
                 MERRIFIELD VA 22119-0001
14767825       +E-mail/Text: bankruptcy@progfinance.com Oct 30 2017 23:54:52       PROGRESSIVE LEASING,
                 256 W. DATA DR.,   DRAPER UT 84020-2315
14767828       +EDI: WTRRNBANK.COM Oct 30 2017 23:43:00      TD BANK USA/TARGET CREDIT,    P.O. BOX 673,
                 MINNEAPOLIS MN 55440-0673
14767829       +EDI: URSI.COM Oct 30 2017 23:43:00      UNITED RECOVERY SYTEMS,    P.O. BOX 722910,
                 HOUSTON TX 77272-2910
                                                                                               TOTAL: 19

           ***** BYPASSED RECIPIENTS *****
NONE.                                                                                         TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).

Addresses marked ’+++’ were transmitted to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(e).

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                                      Form ID: 309A                      Total Noticed: 38


             ***** BYPASSED RECIPIENTS (continued) *****


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Nov 01, 2017                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 30, 2017 at the address(es) listed below:
              MAUREEN GAUGHAN    mgaughan@ecf.epiqsystems.com,maureen@mgaughan.com
              SHERI A (AZCLDP 81482) BARRIOS   sheridocprep@gmail.com
              U.S. TRUSTEE   USTPRegion14.PX.ECF@USDOJ.GOV
                                                                                            TOTAL: 3




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Information to identify the case:
Debtor 1              MICHAEL A BRADLEY                                                 Social Security number or ITIN        xxx−xx−2792
                      First Name   Middle Name    Last Name                             EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                Social Security number or ITIN _ _ _ _
                      First Name   Middle Name    Last Name
(Spouse, if filing)
                                                                                        EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            District of Arizona
                                                                                        Date case filed for chapter 7 10/23/17
Case number:          2:17−bk−12529−BKM


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Your case could be dismissed if you do not file the required documents, fail to
appear at the meeting of creditors or if you do not provide photo identification and proof of social security number to
the trustee at the meeting.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       MICHAEL A BRADLEY

2.      All other names used in the
        last 8 years

3.     Address                               4410 N 14TH ST #7
                                             PHOENIX, AZ 85014

4.     Debtor's attorney                     MICHAEL A BRADLEY                                      Contact phone _____________
                                             4410 N 14TH ST #7                                      Email: None
       Name and address                      PHOENIX, AZ 85014

5.     Bankruptcy trustee                    MAUREEN GAUGHAN                                        Contact phone 480−899−2036
                                             PO BOX 6729                                            Email: None
       Name and address                      CHANDLER, AZ 85246−6729
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1




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Debtor MICHAEL A BRADLEY                                                                                          Case number 2:17−bk−12529−BKM


6. Bankruptcy clerk's office                    U.S. Bankruptcy Court, Arizona                                    Office Hours: 9:00 am − 4:00 pm
                                                230 North First Avenue, Suite 101                                 Monday−Friday
    Documents in this case may be filed at this Phoenix, AZ 85003−1727
    address. You may inspect all records filed
    in this case at this office or online at                                                                      Contact Phone: (602) 682−4000
    www.pacer.gov.                                                                                                Date: 10/30/17

7. Meeting of creditors                          November 27, 2017 at 09:00 AM                                    Location:

    Debtors must attend the meeting to be        The meeting may be continued or adjourned to a                   US Trustee Meeting Room, 230
    questioned under oath. In a joint case,      later date. If so, the date will be on the court                 N. First Avenue, Suite 102,
    both spouses must attend. Creditors may
    attend, but are not required to do so.       docket.                                                          Phoenix, AZ


8. Presumption of abuse                          The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                     Filing deadline: 1/26/18
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of the
                                                   subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                   or

                                                 • if you want to have a debt excepted from discharge
                                                   under 11 U.S.C § 523(a)(2), (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be denied
                                                   under § 727(a)(8) or (9).


                                                 Deadline to object to exemptions:                                Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property as              conclusion of the meeting of creditors
                                                 exempt. If you believe that the law does not authorize an
                                                 exemption claimed, you may file an objection.


10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now. If
                                                 it later appears that assets are available to pay creditors, the clerk will send you another notice telling you
                                                 that you may file a proof of claim and stating the deadline.
    Please do not file a proof of claim unless
    you receive a notice to do so.


11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court
                                                 to extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you
                                                 have any questions about your rights in this case.


12. Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                                 distributed to creditors. Debtors must file a list of property claimed as exempt. You may inspect that list at
                                                 the bankruptcy clerk's office or online at www.pacer.gov. If you believe that the law does not authorize an
                                                 exemption that the debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                 objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                  page 2




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